
674 S.E.2d 677 (2009)
STATE
v.
James Donald KING.
No. 204A99-3.
Supreme Court of North Carolina.
February 10, 2009.
Diane Reeves, Raleigh, for Special Deputy Attorney General.
R. Stuart Albright, District Attorney, for State.
The following order has been entered on the motion filed on the 6th day of February 2009 by Defendant for Extension of Time to File Petition for Writ of Certiorari:
"Motion Allowed. Defendant (King) shall have up to and including the 2nd day of March 2009 to file and serve his/her Petition for Writ of Certiorari with this Court. By order of the Court in conference this the 10th day of February 2009."
